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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
      Plaintiff,                              )
                                              )
      v.                                      ) Case No.: 3:19-mc-3863-ECM
                                              )
ADIENT, WEST POINT, GA                        )
                                              )
      Garnishee                               )
                                              )
DAMEISHA MITCHELL,                            )
                                              )
      Defendant.                              )

                                        ORDER

      Upon consideration of the United States’ Motion to Dismiss Garnishment (Doc. 12),

it is ORDERED that the motion is GRANTED. Accordingly, the Writ of Garnishment

issued May 1, 2019 (Doc. 3) is DISMISSED.

      DONE this 6th day of September, 2019.



                                          /s/ Emily C. Marks
                                EMILY C. MARKS
                                CHIEF UNITED STATES DISTRICT JUDGE
